                    Case 4:07-cr-00086-JM                     Document 909         Filed 07/27/12          Page 1 of 2
A0245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1

                                                                                                                  EASTERN DISTRICT ARKANSAS
                                       UNITED STATES DISTRICT COURT                                                     JUL 27 2012
                                                           Eastern District of Arkansas
                                                                                                          JAMESW                              RK
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Ca~X:---a..~;....;loo~H'-:fd~..,..,.,..,.
                              v.                                         (For Revocation of Probation or Supervised Release)
           STANLEY LAJUAN WATERS

                                                                         Case No. 4:07cr00086-15 JMM
                                                                         USM No. 24637-009
                                                                          Kim Driggers
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            General, Special & Standard of the term of supervision.
D was found in violation of condition(s)               - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                            Nature of Violation                                 Violation Ended
General                            Failure to refrain from committing another crime                           11/26/2011

Standard 7                         Failure to refrain from excessive use of alcohol                           11/26/2011

Standard 11                        Failure to notify his supervising officer of contact w/law officer         11/08/2011

Special                            Failure to report for drug testing                                         11/23/2011

       The defendant is sentenced as provided in pages 2 through __2=--- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.                                                                                       ·

Last Four Digits of Defendant's Soc. Sec. No.: 8837                       07/27/2012
                                                                                            Date of Imposition of Judgment
Defendant's Year of Birth:            1974

City and State of Defendant's Residence:                                                           Signature of Judge
Gould, AR 71643
                                                                          James M. Moody                                US District Judge
                                                                                                Name and Title of Judge

                                                                          07/27/2012
                                                                                                         Date




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                   Case 4:07-cr-00086-JM                      Document 909       Filed 07/27/12       Page 2 of 2
  AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                               Judgment- Page   --=2- of          2
  DEFENDANT: STANLEY LAJUAN WATERS
  CASE NUMBER: 4:07cr00086-15 JMM


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
TWELVE (12) MONTHS to run concurrently to sentence defendant is currently serving in the Arkansas Department of
Corrections.



     D The court makes the following recommendations to the Bureau of Prisons:




     t/ The defendant is remanded to the custody of the United States Marshal.
     D   The defendant shall surrender to the United States Marshal for this district:
         D    at    - - - - - - - - - D a.m.                      D p.m.    on
         D    as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                           By ------~~~~--~~~--~------
                                                                                   DEPUTY UNITED STATES MARSHAL
